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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00152-PAB

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 1.      JAYSON JEFFREY PENN,
 2.      MIKELL REEVE FRIES,
 3.      SCOTT JAMES BRADY,
 4.      ROGER BORN AUSTIN,
 5.      TIMOTHY R. MULRENIN,
 6.      WILLIAM VINCENT KANTOLA,
 7.      JIMMIE LEE LITTLE,
 8.      WILLIAM WADE LOVETTE,
 9.      GARY BRIAN ROBERTS, and
 10.     RICKIE PATTERSON BLAKE,

         Defendants.



       DEFENDANTS’ MOTION PURSUANT TO RULE 17(C) FOR COURT ORDER
       AUTHORIZING SUBPOENAS DUCES TECUM FOR SUPPLY MANAGEMENT
       SERVICES, INC. AND RESTAURANT SUPPLY CHAIN SOLUTIONS, LLC TO
           PRODUCE DOCUMENTARY EVIDENCE IN ADVANCE OF TRIAL


         Defendants, by and through undersigned counsel, and pursuant to Federal Rule of

 Criminal Procedure (“Rule”) 17(c), respectfully request that the Court issue an order authorizing

 the issuance of the attached subpoenas duces tecum to require the production of documentary

 evidence in advance of trial.

 I.      INTRODUCTION

         In the superseding indictment, the government alleges a sprawling, seven-year bid-
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 rigging and price-fixing conspiracy involving the entire broiler chicken industry. During this

 period, the chicken suppliers that the defendants worked for submitted hundreds, if not

 thousands, of bids in response to requests for proposals to the customers the superseding

 indictment alleges were the victims of the alleged price-fixing conspiracy. However, the

 superseding indictment sets forth factual allegations in support of the alleged conspiracy that

 describe only fourteen pricing episodes, Dkt. 101 (“Super. Indict.”) ¶¶ 51–145, half of which

 involve just two customers— Popeyes Louisiana Kitchen (“Popeyes”) and Kentucky Fried

 Chicken (“KFC”). And while the government has produced more than 13 million documents in

 discovery to date, only a miniscule fraction of those documents come from the purchasing

 cooperatives used by Popeyes and KFC—Supply Management Services, Inc. (“SMS”) and

 Restaurant Supply Chain Solutions, LLC (“RSCS”), respectively—to which the suppliers

 submitted bids and with which they negotiated the Popeyes and KFC purchasing contracts.

        The requested subpoenas primarily seek documents directly relevant to the bidding

 episodes involving Popeyes and KFC described in the superseding indictment. For the reasons

 set forth below and in an ex parte memorandum filed under seal, the defendants cannot properly

 prepare for trial without these documents.

        The government has made clear, however, that the episodes alleged in the superseding

 indictment are only examples of the bid-rigging and price-fixing it will seek to prove at trial.

 Yet, it has refused to provide a complete list of the bids that were allegedly rigged or the prices

 that were allegedly fixed. As a result, the defendants also need to obtain documents related to all

 of the negotiations involving chicken sales to Popeyes and KFC to prepare their defenses to the

 government’s case. Accordingly, the subpoenas additionally seek documents related to SMS’s



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 and RSCS’s business during the period of the conspiracy alleged in the superseding indictment.

         The defendants apply for the issuance of pretrial subpoenas now to allow sufficient time

 for production and review of the materials in advance of trial.

 II.     BACKGROUND

         On June 2, 2020, the grand jury returned a one-count indictment against four defendants

 for a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1. Dkt 1 (“Indict.”) ¶ 1. In this

 indictment, the government alleged a conspiracy between 2012 and 2017 consisting of a

 “continuing network” whose purpose was “to suppress and eliminate competition through

 rigging bids and fixing prices and price-related terms for broiler chicken products sold in the

 United States.” Id. ¶¶ 28–29. The indictment described eight specific pricing incidents

 involving five customers (id. ¶¶ 32–77), but suggested that these incidents were only “part” of

 the alleged conspiracy. Id. ¶ 28 (“It was part of the conspiracy . . . .”); id. ¶ 29 (“It was further

 part of the conspiracy . . . .”); id. ¶¶ 30, 31 (same).

         On October 6, 2020, the grand jury returned a superseding indictment against ten

 defendants for one count of a violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and two

 other counts against only defendant Jimmie Lee Little. Super. Indict. ¶¶ 1, 147, 151. The

 superseding indictment again alleges a conspiracy whose purpose was “to suppress and eliminate

 competition through rigging bids and fixing prices and price-related terms for broiler chicken

 products sold in the United States” (id. ¶ 47), but alleges a broader price-fixing and bid-rigging

 conspiracy than the original indictment.

         The government now alleges a conspiracy between 2012 and at least 2019 relating to a

 larger number of suppliers of broiler chicken products, a larger number of customers, and a



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 wider range of expressly identified products. Id. ¶¶ 1, 3, 47–50. The superseding indictment

 describes fourteen separate pricing incidents (id. ¶¶ 51–143), with eight customers and one

 distributor that allegedly are part of the conspiracy (id. ¶¶ 36–44), but again alleges that the

 incidents described in the indictment only formed “part” of the alleged conspiracy. Id. ¶¶ 47–50

 (“It was part of the conspiracy . . . .”); id. ¶ 48 (“It was further part of the conspiracy . . . .”); id.

 ¶¶ 49, 50 (same).

         The government alleges that SMS and RSCS were victims of the alleged conspiracy. See

 Dkt. 195 at 3. Two of the episodes in the superseding indictment relate to SMS’s negotiations

 with chicken suppliers on behalf of Popeyes (Super. Indict. ¶¶ 120–26, 136–43), and five of the

 episodes relate to RSCS’s negotiations with chicken suppliers on behalf of KFC (id. ¶¶ 51–65,

 71–76, 87–107, 129–35).

         On October 27, 2020 and November 30, 2020, defendants filed motions for a bill of

 particulars directed at the superseding indictment. Dkts. 179–81, 183, 203–08. The government

 filed a consolidated opposition on December 14, 2020 (Dkt. 217), and the defendants filed a

 consolidated reply on December 31, 2020 (Dkt. 225). The motions are currently pending.

         The government has produced more than 13 million documents to date, comprising 10

 terabytes of data. The defendants have been diligently reviewing these documents since the

 government began its rolling production. Although the review is far from complete, the

 defendants have conducted electronic document searches that have identified substantial gaps in

 the production, particularly with respect to SMS and RSCS. The government has produced

 25,071 documents from SMS and 9,338 documents from RSCS. By comparison, the

 government has produced 1,568,891 documents from Pilgrim’s Pride and 4,471,975 documents



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 from Tyson Foods. Most of the SMS and RSCS documents have nothing to do with the

 incidents described in the superseding indictment. And, for RSCS, none of the documents come

 directly from the lead RSCS negotiator involved in multiple incidents described in the

 superseding indictment; only five of the documents from RSCS even include this individual as

 an identified correspondent.1

           The defendants have drafted the requested subpoenas in a targeted way to obtain a limited

 set of relevant, admissible documents that they cannot otherwise procure, as they are solely in

 the possession of SMS and RSCS. The defendants seek correspondence and other documents

 directly related to SMS’s and RSCS’s communication with chicken suppliers and other key

 individuals and companies involved in the incidents in the superseding indictment. The

 defendants also seek documents related to communications both externally and internally at SMS

 and RSCS related to purchasing decisions throughout the alleged conspiracy period. Evidence

 provided from these requests is necessary to counter the government’s allegations that suppliers

 illegally fixed prices. The defendants make these requests in good faith, knowing (i) that key

 documents have not been obtained by the government in its investigation, (ii) that the defendants

 can only obtain them directly from the cooperatives, and (iii) that these documents are essential

 to prepare their defenses in advance of trial and to avoid future delay.

 III.      LEGAL STANDARD

           Rule 17(c) authorizes a court to issue a subpoena duces tecum directing a witness to

 produce any “books, papers, documents, data, or other objects the subpoena designates” in court

 before trial so that the parties and their attorneys may “inspect all or part of them.” The purpose


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     Additional information regarding the identity of specific individuals involved in the requests is


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 of Rule 17(c) is to expedite trial, and such subpoenas are “encouraged in complex criminal

 cases.” United States v. Nixon, 418 U.S. 683, 699 n.11 (1974).

        In Nixon, the Supreme Court set out a four-part test for the issuance of a Rule 17(c)

 subpoena: the moving party must show (1) that the documents are relevant and evidentiary;

 (2) that they are not otherwise procurable reasonably in advance of trial by the exercise of due

 diligence; (3) that the party cannot properly prepare for trial without the production and failure to

 do so may unreasonably delay trial; and (4) that the application is made in good faith and is not

 intended as a general “fishing expedition.” Id. at 699; see also United States v. Abdush-Shakur,

 465 F.3d 458, 467 (10th Cir. 2006). Put another way, the moving party “must clear three

 hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Nixon, 418 U.S. at 700. A court may

 quash a Rule 17(c) subpoena if production of the documents would be “unreasonable or

 oppressive, but not otherwise.” Id. at 699.

 IV.    ARGUMENT

        A.      Defendants’ Request Satisfies the Nixon Test

                1.      Relevance

        Although the government has produced more than 13 million documents, many are

 unrelated to the incidents in the superseding indictment. To prepare for trial, defendants need

 communications from key individuals related to the incidents described in the superseding

 indictment. Acquiring these documents is essential to the defendants’ preparation of their

 defense, as they will refute the government’s allegations of price-fixing and bid-rigging. The

 defendants have filed herewith a supplemental ex parte memorandum in support of this motion



 included in the accompanying supplemental ex parte memorandum filed under seal.


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 explaining in detail why the documents are essential to the defendants’ preparation of their

 defense. The memorandum has been filed ex parte because it discloses the defendants’ trial

 strategy and defenses, which the government should not receive. A list of requests for SMS are

 included in Attachment A to the SMS subpoena and a list of requests for RSCS are included in

 Attachment A to the RSCS subpoena; both accompany this motion as individual exhibits. These

 proposed subpoenas meet each element of the Nixon test.

                        a.      SMS Requests

        Requests 1–4. These requests are narrowly tailored to seek communications and phone

 records from SMS related directly to the two incidents described in the superseding indictment

 involving Popeyes.

        Requests 5–10. Requests 5 through 10 seek documents for the time period charged in

 the superseding indictment, but not limited to specific episodes. The government has made clear

 that the incidents described in the indictment are only examples of the incidents it intends to

 introduce at trial, but it has refused to provide a list of such incidents. Instead, the government

 has pointed the defendants to the millions of documents it has produced. The documents contain

 information about hundreds if not thousands of different bidding episodes that occurred during

 the period of the alleged conspiracy. The defendants have filed motions seeking a bill of

 particulars for the superseding indictment, which are pending. Without knowing which bidding

 episodes the government alleges were part of the charged scheme to fix prices, the defendants are

 required to prepare to defend each of the bids made during the alleged conspiracy period and

 need documents pertaining to these bids to do so.




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                        b.       RSCS Requests

        Requests 1, 6. These requests are narrowly tailored to seek documents from RSCS

 related directly to the five incidents described in the superseding indictment involving KFC.

        Requests 2–5, 7. Requests 2 through 5 and 7 seek documents for the time period charged

 in the superseding indictment, but not limited to the specific incidents contained therein. While

 the requests are not limited to specific allegations in the superseding indictment, they seek only

 specific, targeted information relevant to the government’s allegations and the charged offense.

 The defendants require this further information from RSCS in order to defend against the charges

 in the superseding indictment.

                 2.     Admissibility

        With respect to admissibility, many of these documents may constitute business records

 or may be sought to be admitted for a purpose other than proving the truth of the matter asserted

 (such as impeachment). Fed. R. Evid. 803(6), 801(d)(1)(B). Further questions of admissibility

 should be reserved for trial.

                 3.     Not otherwise procurable in advance of trial

        The documents are not otherwise procurable reasonably in advance of trial. The

 subpoenas seek nonpublic communications and other documents possessed by SMS, RSCS, and

 their employees. These documents are not in the defendants’ possession, and the defendants

 have no reasonable means by which to access them absent issuing subpoenas directly to the

 cooperatives.

                 4.     Document are needed to prepare for trial

        Production of the documents will enable the defendants to prepare for trial. The




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 defendants need access to the documents to counter the government’s allegations that they

 entered into an agreement to fix prices and rig bids between 2012 and 2019 generally and with

 respect to the two incidents related to SMS and five incidents related to RSCS that are

 specifically referenced in the superseding indictment. The defendants also need this information

 to impeach the credibility of government witnesses.

                5.      Documents are sought in good faith

        The defendants make this request in good faith, tailoring the subpoenas as narrowly as

 possible to target material evidence that the defendants have not found in the government’s

 production. Although SMS and RSCS maintained an active business relationship with the

 chicken suppliers named in the indictment throughout the entire seven-year period described in

 the superseding indictment, the current government production only contains an incomplete set

 of documents from a handful of individuals at these companies. Important individuals who were

 involved directly in these incidents, such as the lead negotiator from RSCS, are essentially

 absent, as the production did not include any documents directly from this individual and only

 included five documents from other sources on which this individual was a recipient or sender.

 The defendants have good reason to believe that additional documents exist and seek to procure

 them for the sole purpose of trial preparation.

        The Nixon elements uniformly weigh in favor of granting production prior to trial, and

 issuance of the defendants’ proposed subpoenas would further the purposes of Rule 17(c) in

 minimizing any undue delay at trial itself.

 V.     CONCLUSION

        Pretrial production of additional documents is necessary in this complex case so that the



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 defendants can properly prepare for trial. The defendants have constructed the requests narrowly

 to target documents solely in the possession of SMS and RSCS in the good-faith belief that these

 important documents are essential to preparation of their defense and cannot otherwise be

 obtained by the defendants. Issuance of these subpoenas prior to trial is essential to ensure trial

 can proceed without delay once it begins.



 Dated: March 18, 2021                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of March, 2021, I electronically filed the foregoing
 DEFENDANTS’ MOTION PURSUANT TO RULE 17(C) FOR COURT ORDER
 AUTHORIZING SUBPOENAS DUCES TECUM FOR SUPPLY MANAGEMENT
 SERVICES, INC. AND RESTAURANT SUPPLY CHAIN SOLUTIONS, LLC TO
 PRODUCE DOCUMENTARY EVIDENCE IN ADVANCE OF TRIAL with the Clerk of
 Court using the CM/ECF system which will send notification of such filing to all listed parties.



   s/ Michael F. Tubach
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